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                          IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF NEW JERSEY


  AMERICAN REGENT, INC.,

                          Plaintiff,

                          v.                              Civil Action No. 2:24-cv-7756 (BRM) (CLW)

                                                            ORDER GRANTING PRO HAC VICE
  GLAND PHARMA LIMITED,                                            APPLICATION

                          Defendant.


          THIS MATTER having been presented to the Court by Plaintiff American Regent, Inc.

  (“ARI”), by and through its attorneys, Gibbons P.C., seeking entry of an Order admitting Uma

  N. Everett, Adam C. LaRock, Christina E. Dashe, Alexander Alfano, and Ryan E. Conkin of

  Sterne, Kessler, Goldstein and Fox P.L.L.C. as counsel pro hac vice pursuant to Local Civil Rule

  101.1, and the Court having considered the Declarations of Charles H. Chevalier, Uma N.

  Everett, Adam C. LaRock, Christina E. Dashe, Alexander Alfano, and Ryan E. Conkin; and with

  consent by Defendant Gland Pharma Limited, and for good cause shown;

          IT IS on this 16th day of September, 2024, hereby

          ORDERED that ARI’s Application is granted, and Uma N. Everett, Adam C. LaRock,

  Christina E. Dashe, Alexander Alfano, and Ryan E. Conkin are hereby admitted to practice pro

  hac vice before this Court pursuant to Local Rule 101.1, for all purposes and in all proceedings

  connected with this litigation; and it is further

          ORDERED that Uma N. Everett, Adam C. LaRock, Christina E. Dashe, Alexander

  Alfano, and Ryan E. Conkin shall comply with Local Civil Rule 101.1(c) and abide by all rules of



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  this Court, including all disciplinary rules, and shall notify the Court immediately of any matter

  affecting their standing at the bar of any court; and it is further

          ORDERED that Uma N. Everett, Adam C. LaRock, Christina E. Dashe, Alexander

  Alfano, and Ryan E. Conkin shall make payment to the New Jersey Lawyers’ Fund for Client

  Protection as provided by New Jersey Rule 1:28-2(a) within 30 days of entry of this Order for this

  calendar year (if they have not already made such payment for this year) and shall continue to

  make such payment for each calendar year in which they continue to represent ARI before this

  Court; and it is further

          ORDERED that Uma N. Everett, Adam C. LaRock, Christina E. Dashe, Alexander

  Alfano, and Ryan E. Conkin shall comply with the provisions of L. Civ. R. 101(c)(3) and submit

  payment to the Clerk of the Court for the District of New Jersey; and it is further

          ORDERED that all pleadings, briefs and other papers filed with the Court shall be signed

  by an attorney-at-law employed by the law firm of Gibbons P.C., said attorney being authorized

  to practice in the District of New Jersey and maintaining an office in the District of New Jersey,

  who shall be held responsible for the conduct of Uma N. Everett, Adam C. LaRock Christina E.

  Dashe, Alexander Alfano, and Ryan E. Conkin; and it is further

          ORDERED Plaintiff shall provide a copy of this Order to the New Jersey Lawyers’ Fund

  for Client Protection in accordance with New Jersey Court Rule 1:21-2(a).


          IT IS SO ORDERED.
                                                          s/ Cathy L. Waldor
                                                          The Honorable Cathy L. Waldor
                                                          United States Magistrate Judge




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